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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

X
In rec '
Misc. No: 13 l\/lisc. 00099
The Application of Barthélémy Samuel Jean Dessaint
for an Order Pursuant to 28 U.S.C. § 1782
Compelling the Production of
Documents and Testimony by
Christie’s, Inc. :
---- --- X
C()RRECTED
AFFIDAVIT OF SERVICE

 

STATE OF NEW YORK )

COUNTY OF NEW YORK § SSU
Rebecca L. Fine, being duly swom, deposes and says:

l. I am over l8 years of age and am not a party to this action.

2. I am submitting this corrected affidavit because I learned this morning that an overnight
delivery to Mr. Cahill had inadvertently been sent to Cahill Gordon & Reindel LLP
(“Cahill Gordon”). The unopened package Was retrieved from Cahill Gordon’s offices
and Mr. Thomas Martecchini, a paralegal in my office, hand-delivered it to Mr. Cahill at
12:30pm EST today.

3. On January 7, 2013, I served a true copy of:

0 Memorandum QfLaw in ()pposition to Motion to Vacate the March 26, 2013
()rder Issued in C()nnection with the Applicalion Pursuant to 28 U.S,C. § 1 782;
dated January 7, 2013,

0 Declaration OfMatIhew A. Kalz,' dated January 7, 2013, With Exhibits l - 5
thereto,' and

¢ Declaration Oquillaume Buge; dated January 7, 2013, With Exhibits A - E
thereto.

via electronic mail to the following:

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John (`ahilL lisq. Caroline l\/loustakis, l_§sq.
l’aul Cossu, lisq. Christie`s lnc.

Cahill Partners I.I,P 20 Rocket`eller Plaxa

7() West 4()th Street New York, New York 1002()
New Yt)r‘k. NY lOOl 8 §`Ms;t;tlg_is@chri_s@§,cont

jc;_tlti `i l"¢gcaltil_lla\x't`irm_.com

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at 5:24pm liS'l`.
4. ln addition, on January 7, 20l 3, l served a true and correct copy ot` the documents set
1`orth in paragraph 2 above by F ederal lixpress overnight delivery to:

(_`aroline l\/loustakis, l§sq.

Christie"s Inc.

2() Rockel`eller Plaza

Ncw York` Nevv York 10020

_§_T,M<)aslal<iia@ri§ti€$.€etu

by depositing a true and accurate copy ot` the same enclosed in a properly addressed envelope

into the custody ol` the overnight delivery service.

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7/ Rebecca I/. l“in"c

‘¢

 

8th day ot`.lanut/try_ 2014

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l;lotary l’ublic v

 

EMILY POLER
Nofary Pub|ic. Sfate of New York
No. 02P06] 08038
Qualified in Kings County
commission Exp. Apru 12. zol_(£

 

 

 

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